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UNITED STA"I`ES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

STEPHAN RAMSEYER, Perscnai
Representative for the Estate of Beat Niederer
and on behalf Of Sabine Niedei“er (Spouse),
and M. N. and A. N. (miner children), heirs
and descendants of Beat Niederer, deceased,

Case Ne.:

COMPLAINT FOR DAMAGES

Plajmi§$ (JURY TRIAL DEMANDED)

vs.
MOUNTAIN TRIP INTERNATIONAL, LLC,

a Limited Liability Cempany, and
MOUNTAIN TRIP, INC.

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Defendant.

 

COMES NOW plaintiff, Stephan Raznseyer, personal representative of the Estate of Beat
Niederer and attorney in fact for Sabi.ne Niederer, M. N., and A. N., heirs and descendants Of
Beat Niederer, deceased, and alleges as follows:

PARTIES, IURISDICTION AND VENUE

l. Stephan Ramseyer is a citizen of Switzerland and is the personal representative of the
Estate cf Beat Niederer, having received letters of appointment en February 7, 2013 Which are
attached hereto as Exhibit l. Beat Niederer Was a Swiss citizen Who died on May 12, 2011 011

Mt. McKinley in Denali National Park, Alaska. At all times relevant hereto Beat Niederer Was a

'SWiss citizen and resident ef St. Gallen, Switzerland.

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2. Sabine Niederer aged 40, was the spouse of Beat Niederer. Sabine Niederer is a Swiss
citizen and at ali times relevant hereto has maintained her residency in St. Galien, Switzeriand.
Sabine Niederer is the mother of l\/i. N. and A. N., minor children, Whose father was Beat
Niederer.

3. M. N. is the son of Beat Niederer and Sabine Niederer. l\/l. N., aged 10, is a Swiss
citizen and at all times relevant hereto has been a resident of St. Gallen, Switzerland.

4. A. N. is the daughter of Beat Nied.erer and Sabine Niederer. A. N., aged 7, is a Swiss
citizen and at ali times relevant hereto has been a resident of St. Gallen, SWitzeriand.

5. Pursuant to an order of the Swiss civil authorities/court, Sabine Niederer, M. N. and
A. N. are the sole heirs of Beat Niederer.

6. Dei`endant Mountain Trip lnternationai LLC is a Lirnited liability Coxnpany.
Mountain Trip International, LLC owns defendant l\/lountain Trip, inc., an entity licensed to do
business and doing business Within the State of Alaska including Within the Th:ird Judicial
Distn`ct, State of Alaska. Mountain Trip, Inc. provides mountaineering guiding services on Mt.
McKinley, in Denali National Park pursuant to Concession Contract No. CC-DENA006~004
With the National Park Service, an agency of the United States Department of the lnterior. The
relationship of Mountain Trip International, LLC and Mountain "l"`rip, lnc. is such that Mountain
Trip hitcrnational, LLC and Mountain Trip, Inc., should be treated as a single enterprise or as
alter egos of one another. Throughout this Cornpiaint, Mountain Trip lnternational, LLC and
Monntain Trip, lnc. are referred to as Mountain Trip.

7. Beat Niederer died on Mt. McKiniey and pursuant to the death certificate issued by
the State of Alaska the place of death Was more particularly located as the West Buttress,
Talkeetna, Alaska. Tail<;eetna, Alaska is Within the Third .i udicial District, State of Alasl<a.

8. The amount in controversy is in excess of $75,000.00 and this Court has jurisdiction
pursuant to 28 U.S.C. § 1332(a)(2).

FACTS
9. Beat Niederer Was born on Oct'ober 27, 1972. On Decernber 21, 2001 Beat Niederer

Was married to Sabine Niederer. M. N. and A. N. are the children of Beat and Sabine Niederer.

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10. On or about February 14, 201 1, Beat Niederer applied to i\/lountain Trip to
participate on a l\/lountain Trip expedition to l\/lt. l\/chinley. The expedition Niederer made
application to join Was scheduled to attempt to climb Mr. McKinley between April 24 and l\/l`ay
l 7, 20 l 1 .

11. On February 18, 2011, Niederer tendered payment for participation in the expedition
Payrnent Was made to l\/Iountain Trip International.

12. While Niederer had climbing experience first gained through military training, he
had never before climbed in an Arctic environment and never at altitudes significantly above
14,000 feet

13. Generally, the Mt. McKinley climbing season begins on May 1 of each year and
extends into luly. T he trip that Niederer applied to be a member of, and upon Which he was
accepted, was an early season trip in which expedition members Would gather in Anchorage,
Alasl<a on April 24, 2011, finalize preparations and then depart for the mountain, driving first to
Talkeetna, Alaska and then flying from ri`all<eetna to the Kahiltna Glacier. 'l`he expedition that
Niederer paid to join was denominated MT“~Z~Staeheli (hereafter referenced as l\/IT»Q, as it
constituted the second l\/lountain 'l`rip Mt. McKiniey expedition of the 201 l climbing season and
Was led by i\/lountain 'l`rip lead guide, David Staeheli. The expedition arrived on the Kahiltna
Giacier to begin its climb on April 25, 2011.

14. Early season trips are known to encounter colder temperatures and higher wind
speeds at upper elevations of Mt. McKinley than later in the climbing season As reflected in
materials provided to Niederer by Mountain 'l`rip, Wind speeds of over 100 mph and
temperatures as low as 40 degrees Fahrenheit below aero may be encountered on the upper
reaches of the mountain in May and June.

15. Mountain Trip is knowiedgeable about the extreme Weather that can occur on Mt.
McKinley in late April and i\/lay. Mountajn Trip also knows that its primary duty is to keep its
clients safe. According to Monntain Trip:

The safety of the clients and guides is our number one priority! Risks will
not be taken just to get to the summit The guides Will do their best to

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attain the summit, but not when the group’s safety is compromised 'l`he
whole experience and safety are what is most important
Mountain Trip Operating Plan, Supplement to Concession Contract DENA006~04 § C.
Operational Safety.

16. Because of extreme hazards that rnay be found on l\/lount McKinley including risks
of falls, crevasses., extreme weather and avalanches, Mountain Trip’s concession agreement
prohibits its guided expeditious from traveling unroped except in limited terrain and in limited
camp areas. Guides and clients must be roped for safety at all other times. Because of the
hazards and extreme conditions that may be found on Mt. l\/lcl<inley, Mountain Trip’s
concession agreement prohibits it from leaving clients unattended whether in camp or while
traveling Because of the danger to which clients may unwittingly expose themselves, l\/lountain
'l`rip’s concession agreement even prohibits it from leaving a client in camp unattended by a
guide All guides are required to carry and know how to use communication devices

17. All the actions and decisions of Mountain Trip’s lead guide and assistant guide
described herein were undertaken within the course and scope of their employment by Mountain
l`rip and l\/lountain Trip is responsible for the conduct and decisions of its lead guide and
assistant guides

18. As a lead guide on a Mountain 'l`rip cxpedition, David Staeheli was invested with the
stature and authority to exercise control, discretion and independent judgment with respect to the
expedition, including to set policy with respect to whether to make a summit attempt, when a
summit attempt would be made, the participants in a summit attempt, whether an attempt would
be aborted before the summit was achieved, the selection of equipment to be brought on a
summit attempt and the manner that it would be distributed among the summit party

19. In the event of an accident or other emergency on Mount McKinley, rescue in a
timely fashion through outside assistance is difficult if not impossible As elevation increases,
the availability of assistance from outside sources decreases Earlier in the climbing season,

when there are fewer parties on the mountain, the availability to obtain outside assistance in the

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event of emergency requiring rescue assistance is even more limited As Mountain Trip is
aware:

A climbing party high on Denali [Mt. l\/chinley] or other Arctic

mountains cannot depend on any assistance in the event ot` an emergency

For all practical purposes, a climbing party is alone and must depend

upon its own resources if an emergency situation arises.
Denali Mountaineering Handbook at 17. ln operating trips beginning in late April as it does,
M_ountain Trip is aware of and promotes the fact that there are fewer climbers on the mountain
Accordingly, Mountain Trip knew that it could not rely on the presence of others to assist its
climbers in the event of an emergency

20. Mountain 'l`rip’s concession contract with the National Park Service recognizes that a
climbing party is dependent on its own resources should it be placed in a survival situation The
Park Service requires each l\/lountain Tiip summit rope team carry certain minimum levels of
equipment to reduce risk and increase the chance of surviving in the event of an emergency
Such minimum equipment is required to be carried by each summit rope team to the summit of
Mount McKinley. For the 201 l climbing season, each summit rope team was required to carry
an ensolite pad, which can be used to either insulate an injured or stranded climber from the
snow or splint a broken limb; a sleeping bag or bivouac sack, for insulation and weather
protection; a spade or shovel to dig snow eaves or other shelter; a snow saw for cutting hardened
snow into bricks for shelter; a pot stove and fuel to generate hot liquids or a thermos of hot drink;
a communications device and a medical kit.

Zl.. While guides have certain options as to how to fulfill the minimum survival
equipment requirements e.g., bivouac sack vs. sleeping bag and thermos vs. stove, pot and fuel,
a guide’s choice must be reasonable and prudent under the circumstances including time of year,
conditions on the mountain, current and forecast weather', number of parties on the mountain
available to assist, and the size, strength and speed of the rope team.

22. A guide’s responsibility for protecting the safety of clients extends to both climbing
up a peak and descending it as well. A substantial number of mountaineering accidents leading

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to fatalities occur on the descents of climbs due to a variety of factors including fatigue, cold,
and the desire to avoid bad Weather conditions, either existent or impending The risk of such
incidents may increase With elevation due to hypoxia. On Denali, between 1903 and 2006 sixty~
one percent of accidents resulting in fatalities occurred on the descent High Alt. Med. Biology
2008, Spring 9(1): 89~95. 'l`errain that is not difficth to manage on assent may be more
hazardous on descent because of fatigue, body mechanics and other factors that may make
descending more hazardous than ciimbing.

23. Between April 25, 2011 and May 8, 2011, the MT-Z expedition moved up Mount
McKin]ey to its high camp location at 17,200 feet Where a summit climb Would start, if it Were to
be attempted On April 26, 2011., the expedition moved from base camp to 7,800 feet Where they
established Camp 1. By Aprii 29, the l\/IT-2 expedition had reached an elevation of
approximater '1 1,200 feet On May 1, the expedition began the day at 11,200 feet and ciirnbed
to approximately 13,500 feet, just above “Windy Corner” at the 13,200 foot level. At the point
they stopped, they created a cache and returned to their camp at 11,200 feet. The expedition
stopped on May 1, because of the high Winds they Were facing On May 2, 2011 the MT»Z
expedition climbed to their Carnp 3 at 14,200 feet. It was noted by the guides on the trip that
conditions Were very icy because there Was less snow on the mountain According to MT-Z’s
lead guide, David Staeheli, the conditions on the mountain were the “second Worst conditions
ever” based on his 30 years experience on the mountain The reduced snow conditions on the
mountain had previously been reported to Mountain ’i`rip by its first expedition of the year, MT~
i, Which reported the difficulty of making Wind Walls to protect tents because of the icy
conditions On May 4, 2011, MT-I team would retreat from its high camp at 17,200 feet
because of the cold temperatures and incessant Wind Which pushed the Wind chill to between ~»45
to -60 Fahrenheit. High Winds continued to be forecast for the upper mountain

24. Between May 3, 2011 and May 8, 2011, the MT-,’Z expedition remained camped at
Camp 3 at 14,200 feet On May 3, 2011, the expedition picked up gear cached at 13,500 feet in
preparation to caching it at 16,000 feet, above Where they Were camped. Temperatures Were

reported to be “very cold” even in direct smilight. On May 4, a rest day Was scheduled On May

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5, the expedition conducted training exercises Also, on May 5, one of the expedition members,
David Dacquino left the l\/IT~Z expedition, descending With the MT-l expedition as it retreated
from its high camp. On May 6, the MT»Z expedition was stopped by high winds and remained in
camp On l\/lay 7, the MT-2 expedition remained at the 14,000 foot level, unable to climb higher
because of a windstorm On May 8, after a late start due to cold temperatures, the MT~2
expedition established its high camp at 17,200 feet As described by Mountain 'l`rip, after
arriving at the 17,200 foot ievel, the expedition members “had just enough energy to set up camp
and eat a hot meal before everyone tucked into their down sleeping bags for tonight.” The plan
was to take a rest day on May 9, 2011 with the idea of making a summit attempt on May 10. No
summit bid was made on May lOth though the weather was good with clear skies and little or no
winds

25. On l\/lay ll, 20l l, Mountain 'l`rip’s guides decided to make a summit attempt "l`he
forecast called for continued cold temperatures with a high wind warning for late that night In
the parlance of the National Weather Service, a high wind warning means that “hazardous high
winds are occurring or expected” and that individuals need to “tal<e precautions to protect life
and prevent property damage.” Desiring to have the summit team climb the lower part of the
summit climb in the sunlight where it would be easier to stay warm, the MT~Z guides delayed the
start of the summit climb until after 11:00 A.M., leaving camp at 11:2l A.M. Only four of the
remaining MT»~Z clients made the attempt to reach the summit One client, Richard Quintiliani,
and one guide, lack i\/chee, stayed at high camp.

26. The Mountain Trip summit party left the high camp with two rope teams Had
Mountain Trip complied with its concession requirements, it would have started the summit
climb with at least two ensolite pads, two bivouac sacks or sleeping bags (or a combination
thereot), two snow saws and two shoveis. It would have had more than a single thermos of hot
liquid or a stove, fuel and pot in addition to a thermos

27. MT-2 left high camp without the required ensolite pads, shoveis or snow saws.

Despite temperatures of -20 Fahrenheit, it brought only a single uninsulated bivouac sack. No

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stove, fuel or pot was carried A single thermos of hot liquid was carried lts contents were
incapable of being reheated or replenished with additional hot liquids

28. Climbing at altitude can be a slow and extremely fatiguing affair, particularly in the
cold. The typical time for a climb to the summit and return to high camp is approximately l2
hours. For the l\/l'l`-Z team, if it climbed at less than the average speed, it would be climbing into
the adverse weather conditions predicted

29. 'i`he M'l`~»Z team took approximately 3 hours to reach Denali Pass. On the way, one
expedition member, Tony l)isl<in, sustained frostbite injuries to both hands. Upon reaching
Denali Pass, it was determined that Disl<in could not proceed further. lie and MT-Z’s assistant
guide l~lenry Munter descended from Denali Pass towards high camp and on to the camp at
14,200 feet, picking up Richard Quintiliani along the way and leaving Assistant Guide lack
l\/chee in high camp to await the summit party’s return McGee did not have a radio to monitor
the progress of the summit party

3{}. As a consequence of Diskin’s injury and the need to send him down the mountain
with l\/lunter, the remaining summit group consisted of Niederer, client Lawrence Cutler, client
leremiah O’Sullivan and lead guide David Staeheli. At Denali Pass, Cutler was feeling the
effects of altitude and not having eaten sufficiently prior to starting lie wondered whether he
should continue on, but was encouraged by Staeheli to keep climbing rather than going down
with Diskin and i\/lunter.

31. With only one guide, all the clients had to be roped to Staeheli and the group could
only move at the speed oi` the slowest climber. Staeheli continued to observe that Cutler was
having a difficult time. Rather than deciding to retreat and try again on another day with the
stronger clients, Niederer and O’Sullivan, Staeheli allowed Cutler to choose between stopping
and descending, or continuing to ascend. Staeheli suggested that if the team got to an area
known as “The Football Fieid” and Cutler was not feeling better, Staeheli would leave Cutler
there, while the remainder of the party climbed to the summit

32. With all clients tied to Staeheli by a single rope, each climber was exposed to the risk
of being pulled off his feet and falling should a team member fall while on steeper terrain. Such
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risk could be mitigated if the lead climber, Staeheli, placed protection along the route by using
snow pickets and anchoring the rope as it passed through, Such a technique is known as a
rumiing belay. if a climber falls from above an anchor, the anchor below wili catch him if he is
unable to arrest the fall before passing it. By placing and using anchors, climbers below the
failing climber are protected from the risk of being pulled off the climb by a failing companion
and falling themselves If left in place as the last climber proceeded by on ascent, the pickets
Wouid also provide protection on the descent

33. Slowed by Cutler, at approximately 8:00 P.M., the MT~Z expedition reached The
Footbail Fieid at an aititude of approximately 19,500 feet and again engaged in a discussion of
Whether Cutler’s pace Was delaying the team’s progress They took a rest break there and Were
passed by an Alaska Mountaineering Schooi expedition that Was also making a summit attempt.
The AMS expedition had started its summit climb at approximately 11145 A.l\/I. behind the MT~Z
summit teams lt had initially caught the MT-Z summit teams at Denali Pass.

34. At approximately 8: l 5 P.l\/i., the MT-Z group began their push to the summit ridge
approximately 600 feet above The Football Field. To reach the summit ridge, the MT-Z
expedition had to climb a 30 to 35 degree slope known as “Pig Hill.” Pig Hill’s slope becomes
steeper the higher one ci.irnbs. As the team ascended Pig Hill., Staeheli placed no protection for
use either on the ascent or on descent though he had pickets remaining and though he had placed
some during the ascent of “the Autobahn” section lower down, though the slope Was no steeper.
Between 9:30 P.l\/l. and 10:00 P.M. the MT-2 summit team reached the summit ridge

35. As M”i`-Z reached the summit ridge, the wind speed Which Was light lower down
increased to 15~20 miles per hour. Though they had already been climbing at altitude for over
101/z hours at the time they made the summit ridge, the M'I`~Z team continued to ascend even as
the Wind speed on the summit increased

36. The AMS expedition reached the summit before 10:00 P.M. andn immediater began
to descend At 10:00 P.M., the AMS group passed the MT-Z summit team on the summit ridge
The i\/IT~Z team Was 300 yards below the summit and still ascending The Wind was increasing

With speeds estimated at 15 to 25 mph and temperatures between -20 degrees and »~30 degrees

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Fahrenheit. In such temperature and wind conditions, frostbite and hypotherrnia can occur in
scant minutes

37. The MT-Z summit team finally reached the summit of Mt. McKiniey at
approximately 10:45 P.M. and remained on the summit for approximately 10 minutes After
taking pictures on the sunnnit, the MT~Z team started down. After traversing the summit ridge,
the team started down Pig Hill proximate to the Way it had come up. Niederer, the strongest of
the client climbers, led the vvay down Next on the rope Was O’Sullivan foilowed by Cutler and
then MT~Z’s guide Staeheli. Part Way down O’Sullivan fell, Was unable to self arrest and,
because of the secured snow conditions, pulled the rest of the team off their feet into a rolling,
sliding fail Because no protection had been placed on the Way up Pig Hill, there vvas none in
place on the Way down and accordingly the entire team continued to fall some 300 to 500 feet
until the slope angle decreased near the bottom. O’Sullivan’s leg Was broken in the fall and
Nicderer suffered facial injuries, a suspected shoulder dislocation, and multiple broken ribs.
Staeheli too suffered broken ribs and lost a mitten in the fall leading to rapid frost bite of his
hand. At the time the fall occurred, the temperature was approximately ~30 degrees Fahrenheit
and the Wind Was blowing at 20 to 30 miles per hour.

38. The reason the NPS requires all summit teams to carry a shovel and snow saw is so
that in the event of an emergency a team can stay together, dig in and/or construct a shelter, and
stay warm, rather than being exposed to the elements One reason the NPS requires an ensolite
pad is to help provide insulation from the snow. The reason to carry a sleeping bag is to insulate
an immobilized climber. The reason to carry a stove, pot and fuel, is to be able to generate hot
liquid to keep climbers warm and hydrated. The NPS’s minimum equipment requirements are
intended to increase the chances of survival if a party is caught up in an accident or stranded
above high camp on a summit bid or descent

39. After the fall, Staeheli did not evaluate Niederer‘s injuries Without shovel and snow
savv, the expedition had no vvay to dig in or create shelter to keep the expedition together and out
of the force of the increasing vvind. Without a sleeping bag or ensolite pad, the expedition had
no Way to insulate O’Sullivan or other party members from the ground and cold temperatures

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Without stove, pot, and fuel to create hot water, the expedition had no way to stay bydrated or
warm through drinking warm iluids.

40. As a consequence of not bringing the minimum required equipment the MT-Z
summit party had inadequate means to stay together and protect itself from increasingly
hazardous conditions as the wind continued to build.

dl. Staelieli or Cutler wrapped O’Sullivan in the non-insulated bivouac sack but it blew
away shortly thereafter in the increasing winds. Staeheli tried to call for rescue with a satellite
phone but the phone was damaged in the fall or as he attempted to assemble it. Even if a call had
been completed, no quick rescue could occur because of the team’s location on the high
mountain, the time necessary to mobilize a rescue and the weather conditions To safely await
rescue would have required the building of a shelter, which MT~Z lacked the tools for as a result
of l\/[ountain 'l`rip’s non-compliance with its concession agreement and Parl<; Service
requirements Staeheli gave his heavy parka to O’Sullivan but it too was lost in the wind.

42. After the fall, and while on the lower slopes of Pig Hill, Staeheli asked Cutler to use
a small FRS (Family Radio Service) radio to call for help. FRS radios work on a line of sight
basis. in order to use the radio to contact either the AMS party or the camp at l7,200 feet, Cutler
had to unrope and move towards a feature known as the “Archdeacon’s 'l`ower.”

43. Cutier’s attempt to reach the 17,200’ camp by radio was doomed to failure because
the remaining MT-Z guide, l\/chee, did not have a radio with him despite the requirements of
i\/lountain Trips concession agreement

44. After Cutler unreped he went to Niederer, assisted him with putting on his pack, and
the two began to descend towards the Archdeacon’s Tower as Staeheli attempted to move
O’Sullivan to The llootball Field to await rescue by helicopter if one could be summoned
Having moved O’Sullivan as far as he could towards The Football Field, and having given
O’Sullivan his heavy parka, Staeheli left O’Sullivan and went to catch up with Cutler and
Niederer- Staeheli left the climbing rope on Pig liill after the fall.

45. Without a heavy parke liirnself, having given it to O’Sullivan, Staeheli had to move

faster than Cutler and Niederer in order to stay warm. He caught up with and then passed them

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on the Archdeacon’s Tower ridge. He told them to wait at Denali Pass at the top of the
Autobahn, the steep and extremely hazardous section of climb that begins near the 17,200 foot
campsite Staeheli told them, “li'" you go on the Autobahn without the rope you could die.”

46. Staeheli continued to rapidly descend He waited for Cutler at another feature,
“Zebra Rocks,” but did not wait for Niederer before continuing his own descent Whatever
directions Staeheli gave Cutler at Zebra Rocks were not effectively communicated as the two
became separated at that point Niederer was provided no direction on how to descend from
Zebra Rocks to Dcnali Pass.

47. l-Iaving left Cutler and having far out distanced Niederer, Staeheli arrived at the MT-
2 17,200 foot camp at 3:3{) A.M. on May 12, an hour after the AMS party.

48. Cutler made it to Denali pass, attempted to wait for Niederer, but ultimately decided
he needed to continue to descend if he were to survive in the cold temperature and wind which
had increased to 55 mph or more. After an extremely hazardous descent down the Autobahn,
assisted in the end by Mountain Trip’s Assistant Guide lack McGee and Patrick Orrnond, the
guide for the Alaska Mountaineering School, Cutl.er made it back to the 17,200 foot level camp
at 7:l5 A.l\d. on May 12, 2()l l.

49. The injured Niederer, who up until the fall was the strongest climber of the clients,
was unable to keep up with Staeheli or Cutler. He perished at Denali Pass from exposure to cold
temperatures and high winds. O’Sullivan survived with severe frost bite injuries lie was
rescued nom the Football Field at ”7:00 P-M. on May 12, 2011, after the summit winds had died
down enough to make high altitude helicopter rescue possible

COUNT l - Survival Action (AS 09.55.570)

5 O. Plaintiff incorporates paragraphs 1-49 as though fully set forth herein

51. l_\/lountain 'l`rip owed a duty of care to Niederer. Mountain Trip’s duty of care
included conducting its operations in such a manner as to comply with its obligations under its

concession agreement with the National Parl< Service.

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52. l\/Iountain 'l`rip’s duty of care required it to put Niederer and other team members’
safety ahead of any desire to attain Mount McKinley’s summit whether that desire was expressed
by Niederer, other clients, or Mountain Trip and/or its guides

53. The conduct of Mountain 'l."rip as set forth in paragraphs l~»§() was negligent and/or in
reckless disregard of duties l\/lountain Trip owed Niederer as a provider of commercial guide
services on Mount McKinley, including the duty to comply with all mandated safety rules for
commercial guide services.

54. As a consequence of Mountain 'l.`rip’s negligent and/or reckless disregard for duties it
owed Niederer as a purveyor of commercial guide services, Niederer suffered predeath injury,
pain and suffering and fear of impending death as a result of the fall on Pig Hill and before his
death due to exposure at Denali Pass after being abandoned by Mountain Trip. Plaintiff claims
all categories of loss permitted by AS 09,55.570.

55. As a result of l\/lountain 'l`rip’S negligent and/or reckless disregard of the duties it
owed to Niederer, Niederer suffered damages in an amount greater than $75,000.00, the exact
amount to be determined at trial.

COUNT II ~ Wrongful Death (AS 09.55.580)

56. Plaintiff incorporates paragraphs l- 55 as though fully set forth herein

57. The conduct of Mountain Trip as described in paragraphs 166 was negligent and!or
in reckless disregard of the duties it owed to Niederer and such negligent and/or reckless
misconduct caused in whole or in part the death of Niederer.

58. As a consequence of its negligent and/or reckless disregard of the duties it owed to
Niederer, which caused Niederer’s death, Mountain 'l`rip caused damages to Niederer’s Bstate
and the beneficiaries of the estate, Sabine Niederer, M- N. and A. N., including but not limited to
ther

s Deprivation of the expectation of pecuniary benefits to the beneficiaries that
would have resulted from the continued life of Beat Niederer;

- Loss of contribution for support;

w Loss of assistance or services to the beneficiaries;

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s Loss of consortium;

v Loss of prospective training and education;

@ Funeral expenses

59. As a result of Mountain 'l`rip’s negligent and/or reckless misconduct as set forth
herein, the Estate and beneficiaries of the Estate have suffered losses in excess of $75,009.00, the
exact amount to be determined by the jury after considering all the facts and circumstances On
behalf of Sabine Niederer, M. N. and A. N., plaintiff personal representative claims all categories
of damages permitted by Aiaska’s Wrongful Death Statute, AS 09.55.580.

PRAYER F(}R RELIEF

60. Wherefore, Plaintiff prays for the following relief:

a. An award of all damages recoverable by the personal representative on behalf of
the Estate under Aiaska’s Survival Statute, AS 09.55-570, for Beat Niederer’s pre~
death injury, pain and suffering consequent to the fall on Pig Hill caused by
i\/Iountain Trip’s negligent and/ or reckless misconduct as set forth above;

b. An award of all damages recoverable by the Estate on behalf of the beneficiaries
thereof pursuant to Alaska’s Wrongful Death Act, AS 99.55.580;

c. lnterest, costs and attorney fees as provided by law; and

d. Such other relief as may be available as provided by law or deemed available by
the Court.

JURY DEMAND
61. Pursuant tq£/RCP 38(b)(l), Plaintiff hereby demands trial by jury.
nasd this §§ day er rebmry, 2013.

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FRIEDMAN | RUBIN
Attorneys for Plaintiff

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